CASE 0:21-cv-01417-PJS-ECW Doc. 2 Filed 06/16/21 Page 1 of 6
CASE 0:21-cv-01417-PJS-ECW Doc. 2 Filed 06/16/21 Page 2 of 6
CASE 0:21-cv-01417-PJS-ECW Doc. 2 Filed 06/16/21 Page 3 of 6
CASE 0:21-cv-01417-PJS-ECW Doc. 2 Filed 06/16/21 Page 4 of 6
CASE 0:21-cv-01417-PJS-ECW Doc. 2 Filed 06/16/21 Page 5 of 6
CASE 0:21-cv-01417-PJS-ECW Doc. 2 Filed 06/16/21 Page 6 of 6
